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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION

UNITED STATES OF AMERICA ex rel.
                               )
JOLIE JOHNSON et al.,          )
                               )
        Relators,              )
                               )
                    v.         )                            Civil Action No.
                               )                            4:16-cv-290-WTM-JEG
BETHANY HOSPICE AND PALLIATIVE )
CARE OF COASTAL GEORGIA, LLC.  )
et al.,                        )
                               )
        Defendants.            )
                               )




NOTICE OF VOLUNTARY DISMISSAL OF BETHANY BENEVOLENCE FUND, INC.

       PLEASE TAKE NOTICE that Relators Jolie Johnson and Estate of Debbie Helmly,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby voluntarily dismisses all claims

in this action without prejudice as to Bethany Benevolence Fund, Inc.

       Respectfully submitted this 31st day of January, 2019.


                                             /s/ Mike Bothwell
                                             Mike Bothwell
                                             Ga Bar No. 069920
                                             Mike@WhistleblowerLaw.com
                                             Attorney for Relators


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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day, the foregoing Notice of Voluntary Dismissal of Bethany

Benevolence Fund, Inc. was filed electronically with the Court via the CM/ECF system, which

will automatically send electronic notification of such to counsel of record.

               This 31st day of January, 2018.




                                                     /s/ Mike Bothwell




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